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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 1:12-cv-21932-KMM/TORRES

   GHM (SOUTH BEACH) LLC, a Delaware
   limited liability company,

          Plaintiff,
   v.

   SETAI OWNERS LLC, a Delaware limited
   liability company, TREVI LUXURY
   HOSPITALITY GROUP, INC., a Texas
   corporation, and SMB MANAGEMENT
   LLC, a Florida limited liability company,

         Defendants.
   ____________________________________/

                   DEFENDANT SETAI OWNERS LLC’S MOTION FOR
                 MORE DEFINITE STATEMENT AND MOTION TO DISMISS
                   WITH INCORPORATED MEMORANDUM OF LAW


   Richard H. Critchlow                William A. Brewer III (pro hac vice application filed)
   Elizabeth B. Honkonen               James S. Renard (pro hac vice application filed)
   KENNY NACHWALTER, P.A.              Jack G. B. Ternan (pro hac vice application filed)
   201 South Biscayne Boulevard        BICKEL & BREWER
   Suite 1100                          4800 Comerica Bank Tower
   Miami, Florida 33131-4327           1717 Main Street
   Telephone: (305) 373-1000           Dallas, Texas 75201
   Facsimile:    (305) 372-1861        Telephone: (214) 653-4000
                                       Facsimile:    (214) 653-1015
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          Pursuant to Federal Rules of Civil Procedure 12(b)(6) and 12(e), Defendant Setai Owners

   LLC (“Owner”) files this motion for a more definite statement and to dismiss (the “Motion”).

   Owner’s Motion is not intended to waive Owner’s right to compel arbitration and/or seek a stay

   of proceedings pending arbitration.       In fact, Owner intends to file a motion for stay of

   proceedings in this Court concurrently with its response to Plaintiff’s motion to enjoin the

   arbitration proceedings. For the reasons set forth in the Memorandum of Law below, Owner’s

   Motion should be granted.

                                      MEMORANDUM OF LAW

                                                     I.

                                   PRELIMINARY STATEMENT

          Owner is the developer and owner of the Setai Resort & Residences (the “Hotel”), a

   luxury hotel located in Miami Beach, Florida.            Until March 31, 2012, General Hotel

   Management, Ltd. and Plaintiff GHM (South Beach) LLC operated the Hotel pursuant to a

   Management Agreement with Owner. After Owner had spent years in failed good faith attempts

   to work with its agent to resolve disputes, Owner terminated the Management Agreement and

   initiated an arbitration against General Hotel Management, Ltd. and Plaintiff to recover millions

   of dollars in damages resulting from their mismanagement.            After the termination, Owner

   obtained access to the books and records and uncovered proof of massive financial irregularities,

   abusive employee policies, improper self-dealing, commingling of property, and other evidence

   of gross mismanagement.

          Recognizing that its extensive wrongdoing leaves it with little chance of success in front

   of a panel of qualified arbitrators, Plaintiff initiated a state court action seeking to avoid

   arbitration. In its Complaint, Plaintiff asserts twelve meritless claims. In fact, as set forth below,
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   all but two of the claims asserted by Plaintiff against Owner should be dismissed at the pleading

   stage for failure to state a claim. Moreover, Plaintiff should be ordered to replead its Complaint

   to identify which factual allegations purport to support each claim and to properly distinguish

   between Plaintiff and non-party General Hotel Management, Ltd.

                                                    II.

                                       APPLICABLE STANDARDS

   A.     Motion For More Definite Statement

          Pursuant to Federal Rule of Civil Procedure 12(e), a “party may move for a more definite

   statement of a pleading to which a responsive pleading is allowed but which is so vague or

   ambiguous that the party cannot reasonably prepare a response.”1 The motion “must point out

   the defects complained of and the details desired.”2 Courts “typically grant motions under Rule

   12(e) for ‘shotgun’ pleadings, in which it is ‘virtually impossible to know which allegations of

   fact are intended to support which claim(s) for relief.’”3

   B.     Motion To Dismiss

          Federal Rule of Civil Procedure 12(b)(6) provides for a motion to dismiss when a

   pleading fails to state a claim upon which relief can be granted.4 To survive a motion to dismiss,

   “a complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that



          1
              FED. R. CIV. P. 12(e).
          2
              Id.
          3
            See Gombos v. Central Mortg. Co., No. 10-81296-CIV, 2011 WL 832878, at *2 (S.D.
   Fla. Mar. 2, 2011) (quoting Anderson v. Dist. Bd. of Trustees of Cent. Fla. Cmty. Coll., 77 F.3d
   364, 366 (11th Cir. 1996)).
          4
              See FED. R. CIV. P. 12(b)(6).

                                                     2
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   is plausible on its face.”5      A “claim has facial plausibility when the plaintiff pleads factual

   content that allows the court to draw the reasonable inference that the defendant is liable for the

   misconduct alleged.”6 Where “the well-pleaded facts do not permit the court to infer more than

   the mere possibility of misconduct, the complaint has alleged—but it has not ‘shown’—‘that the

   pleader is entitled to relief.’”7

           Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain a “short and plain

   statement of the claim showing that the pleader is entitled to relief.”8 That pleading standard

   “demands more than an unadorned, the-defendant-unlawfully-harmed-me accusation.”9                A

   pleading that “offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a

   cause of action will not do.’”10 Similarly, a complaint does not “suffice if it tenders ‘naked

   assertion[s]’ devoid of ‘further factual enhancement.’”11




           5
               See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotation omitted).
           6
               Id.
           7
               Id. at 679.
           8
               See id. at 677-78.
           9
               Id. at 678.
           10
                Id. (quotation omitted).
           11
                Id. (quotation omitted).

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                                                     III.

                                  ARGUMENTS AND AUTHORITIES

   A.     Pursuant To Federal Rule Of Civil Procedure 12(e), Plaintiff Should Be Required
          To Replead Its Complaint To Provide A More Definite Statement.

          Plaintiff should be required to replead with a more definite statement of allegations for at

   least two reasons.

          1.        Plaintiff’s Complaint is a “shotgun pleading”

          Courts “typically grant motions under Rule 12(e) for ‘shotgun’ pleadings, in which it is

   ‘virtually impossible to know which allegations of fact are intended to support which claim(s)

   for relief.’”12 An example of a “shotgun” pleading is one that incorporates all factual allegations

   in support of each claim.13        Plaintiff’s Complaint has exactly this defect, as each count

   incorporates all factual allegations.14

          This shotgun pleading style is especially problematic here, where Plaintiff’s allegations

   supporting each count are often mere recitations of the elements of a claim.15 As discussed in

   more detail below, in most instances, Plaintiff does not even allege facts supporting each element

   of a claim. Without a more definite statement of which factual allegations support each count,

   Owner can neither fully respond to the Complaint nor make clear to the Court that the facts

   alleged are insufficient to state a claim. Accordingly, Plaintiff should be required to re-plead to


          12
               See Gombos, 2011 WL 832878, at *2 (quotation omitted).
          13
             See Anderson, 77 F.3d at 365-66 (“The first twenty-four paragraphs of the complaint
   contain allegations of fact that are adopted in full by all six counts.”).
          14
               See Complaint at 20, ¶ 69; 21, ¶ 76; 23, ¶ 86; 25, ¶ 100; 26, ¶ 104; 26; 107.
          15
          See, e.g., Complaint at 20, ¶ 70 (“The Defendants knew that the employees at the Hotel
   were GHM employees”); id. at 21, ¶ 79 (“The Defendants acted without proper justification.”).

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   identify which factual allegations support each count.

          2.        Plaintiff should be required to replead to distinguish between itself—GHM
                    (South Beach) LLC—and General Hotel Management, Ltd.

          Plaintiff appears to be asserting claims that should be dismissed because the claims

   belong to General Hotel Management, Ltd.,16 but Plaintiff has pleaded facts in such a vague

   manner that the nature of the allegation is unclear. For instance, in paragraph 3 of the Complaint

   Plaintiff alleges that “[e]stablished in 1992, GHM and its affiliates have created and manage

   some of the world’s most highly regard boutique luxury resorts and hotels from its home base in

   Singapore.”17 The secretary of state filings for GHM (South Beach) LLC make clear that it was

   not created in 1992.18 Additionally, the Complaint refers to “GHM marks;”19 however, those

   marks belong to General Hotel Management, Ltd., not Plaintiff.20

          This inappropriate confusion of identities means that Plaintiff is asserting claims for

   damages to interests it does not own. For instance, Defendants are alleged to have “seized

   control of GHM’s ‘GHM Americas’ mail server” and thereby blocked access to the “property of

   and used by GHM’s parent company for all of its email correspondence, not just correspondence

   related to the Hotel.”21 Plaintiff alleges that the email correspondence belongs to it while


          16
               See Notice of Removal (Doc. 1) at 8-11.
          17
               See Complaint at 2, ¶ 3.
          18
            See Printout from Florida Secretary of State (identifying the date of formation as
   October 29, 2004), attached as Exhibit 1; Notice of Removal (Doc. 1) at 8-9.
          19
               See Complaint at 4, ¶ 12; id. at 10, ¶ 31.
          20
           See Printout from the Trademark Electronic Search System of the United States Patent
   and Trademark Office (showing that the trademark “GHM” belongs to General Hotel
   Management, Ltd.), attached as Exhibit 2; Notice of Removal (Doc. 1) at 9-10.
          21
               See Complaint at 11, ¶ 34.
                                                       5
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   simultaneously saying that the correspondence belongs to its parent company. If it belongs to

   the parent company, then the parent company should appear and assert its interests, but if it

   belongs to Plaintiff, then injury to the parent company is irrelevant to Plaintiff’s claims.

          Similarly, Plaintiff claims it earns money by “entering into long term management

   contracts,” as if it had ever entered into a management contract other than at the Hotel.22

   Plaintiff alleges that Defendants have harmed business at “GHM’s other properties worldwide,”

   even though Plaintiff has no such properties.23 Plaintiff alleges that Defendants have disrupted

   employment relationships in a way that “severely impacts GHM’s ability to take on other

   management projects” even though Plaintiff does not take other projects.24

          In the Complaint as written, Plaintiff is making blatantly false statements of fact

   regarding its own business. However, rather than imposing sanctions, Plaintiff should be given

   an opportunity to replead to make clear the distinctions between General Hotel Management,

   Ltd. and Plaintiff GHM (South Beach) LLC.

   B.     Pursuant To Federal Rule Of Civil Procedure 12(b)(6), Counts II, III, IV, V, VII,
          IX, XI, And XII Of Plaintiff’s Complaint Should Be Dismissed.

          1.        Count II (breach of duty of good faith and fair dealing) should be dismissed.

          In Count II of the Complaint, Plaintiff purports to assert a claim that Owner breached a

   duty of good faith and fair dealing.        Plaintiff alleges that Owner breached this duty by

   “intentionally failing to comply with the termination provisions” of the Management Agreement

   and by “purposely engaging in a pattern to exclude and evict GHM from the Hotel despite


          22
               See Complaint at 14, ¶ 43 (emphasis added).
          23
               See Complaint at 15, ¶ 45.
          24
               See Complaint at 16, ¶ 48.

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   Owner agreeing to a 15-year term.”25 These allegations merely duplicate Plaintiff’s express

   breach of contract claim that Owner breached the Management Agreement by terminating the

   Management Agreement.26 A claim for breach of the implied duty of good faith and fair dealing

   should be dismissed when, as is the case here, it merely duplicates a claim for breach of

   contract.27 Accordingly, Count II of the Complaint should be dismissed.

          2.        Count III (declaratory relief regarding conditions precedent in the
                    arbitration agreement) should be dismissed.

          In Count III of the Complaint, Plaintiff purports to assert a claim for declaratory and

   injunctive relief seeking to prevent Owner from proceeding with an arbitration.           Plaintiff

   contends that:

          Because Owner irreparably failed to comply with the express prerequisites of the
          arbitration provision of the Management Agreement to the detriment of GHM,
          Owner has waived its right to arbitration, and the requested arbitration should not
          be allowed to go forward.28




          25
               See Complaint at 18, ¶¶ 58-59.
          26
               See Complaint at 17, ¶ 54.
          27
              See Nat’l Franchisee Ass’n v. Burger King Corp., No. 09-23435-CIV, 2010 WL
   4811912, at *6 (S.D. Fla. Nov. 19, 2010) (“[T]he facts alleged by Plaintiffs for breach of the
   express duty of good faith and for breach of the implied duty of good faith are nearly identical. A
   claim of breach of the implied covenant of good faith may not be advanced when the allegations
   underlying that claim are duplicative of the allegations supporting a claim for breach of an
   express term in the contract.”); Regency of Palm Beach, Inc. v. QBE Ins. Corp., No. 08-81442-
   CIV, 2009 WL 2729954, at *5 (S.D. Fla. Aug. 25, 2009) (“The Court also notes that the factual
   allegations underlying this claim are based upon QBE’s failure to fairly and promptly perform
   under its obligations in the Contract. A breach of the implied covenant of good faith and fair
   dealing cannot be advanced when the allegations underlying that claim are duplicative of the
   allegations supporting the breach of contract claim, as they are here.”); Trief v. Am. Gen. Life
   Ins. Co., 444 F. Supp. 2d 1268, 1270 (S.D. Fla. 2006).
          28
               Complaint at 20, ¶ 67.

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          However, the United States Supreme Court has made clear that questions of waiver of

   arbitration and conditions precedent to arbitration are to be decided by the arbitrators, not the

   courts.29 The Eleventh Circuit recently confirmed that, while waiver by litigation conduct (i.e.

   filing a lawsuit and then seeking to enforce arbitration) is a question for the courts, waiver

   through failure to comply with conditions precedent is a question for the arbitrators.30




          29
               See Howsam v. Dean Witter Reynolds, Inc., 537 U.S. 79, 84-85 (2002) (“Thus
   procedural questions which grow out of the dispute and bear on its final disposition are
   presumptively not for the judge, but for an arbitrator, to decide. So, too, the presumption is that
   the arbitrator should decide allegations of waiver, delay, or a like defense to arbitrability. Indeed,
   the Revised Uniform Arbitration Act of 2000, seeking to incorporate the holdings of the vast
   majority of state courts and the law that has developed under the Federal Arbitration Act, states
   that an ‘arbitrator shall decide whether a condition precedent to arbitrability has been fulfilled.’
   And the comments add that in the absence of an agreement to the contrary, issues of substantive
   arbitrability are for a court to decide and issues of procedural arbitrability, i.e., whether
   prerequisites such as time limits, notice, laches, estoppel, and other conditions precedent to an
   obligation to arbitrate have been met, are for the arbitrators to decide.”) (internal punctuation and
   citations omitted); see also PTA-FLA, Inc. v. ZTE USA, Inc., No. 3:11–cv–510–J–32JRK, 2011
   WL 5024647, at *4 (M.D. Fla. Oct. 31, 2011) (“In this case, certain steps were in fact taken.
   Whether those steps satisfy the condition precedent in paragraph 20 of the Agreement is not for
   this Court to decide. Pursuant to Howsam, an arbitrator shall decide whether a condition
   precedent to arbitrability has been fulfilled.”) (internal punctuation omitted).
          30
              See Grigsby & Assocs., Inc. v. M Secs. Inv., 664 F.3d 1350, 1353 (11th Cir. 2011) (“In
   Howsam the Supreme Court listed as issues presumptively for the arbitrator ‘allegations of
   waiver, delay, or a like defense to arbitrability.’ Notwithstanding this language, three Circuit
   Courts of Appeal have interpreted Howsam as presumptively assigning to courts—rather than to
   arbitrators—questions involving allegations of waiver when the waiver is specifically based on a
   party’s conduct. Circuits, in the most part, treated Howsam’s use of the term ‘waiver’ as
   referring not to conduct-based waiver, but to a ‘defense arising from non-compliance with
   contractual conditions precedent to arbitration.’ The reasoning of the First, Third, and Sixth
   Circuits is persuasive to us. Today we conclude that it is presumptively for the courts to
   adjudicate disputes about whether a party, by earlier litigating in court, has waived the right to
   arbitrate.”) (internal citations and punctuation omitted).

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          In addition, the parties agreed to arbitrate according to the rules of arbitration set down

   by the International Chamber of Commerce,31 and those rules similarly provide that arbitrability

   is to be decided by the arbitrators.32 Accordingly, this claim should be dismissed.

          3.      Count IV, alleging tortious interference with employment relationships,
                  should be dismissed.

          In Count IV of the Complaint, Plaintiff purports to assert a claim that Owner tortiously

   interfered with the relationship between Plaintiff and its employees. Plaintiff fails to state a

   claim for at least two reasons and, accordingly, Count IV of the Complaint should be dismissed.

          First, Plaintiff cannot state a claim for the hiring away of employees because, under

   Florida law, Owner had a privileged right to do so.33          Plaintiff does not allege any facts

   supporting a reasonable inference that Owner sought to hire Plaintiff’s present or former

   employees with the specific intent to harm Plaintiff, rather than to advance Owner’s own

   business interests. 34 Accordingly, Plaintiff cannot establish a claim for tortious interference.


          31
            See Management Agreement at 21, art. XXVI § 1, attached as Exhibit A to the
   Complaint.
          32
             See 2012 Arbitration and ADR Rules of the International Court of Arbitration of the
   International Chamber of Commerce (“Arbitration Rules”) at 14, art. 6(3), attached as Exhibit 3.
          33
              See In re Maxxim Med. Group, Inc., 434 B.R. 660, 688 (Bankr. M.D. Fla. 2010) (“A
   competitor is privileged to hire away an employee whose employment is terminable at will.”);
   Fiberglass Coatings, Inc. v. Interstate Chem., Inc., 16 So. 3d 836, 838 (Fla. 2d DCA 2009)
   (“Causation requires a plaintiff to ‘prove that the defendant manifested a specific intent to
   interfere with the business relationship.’ No liability will attach unless it is established ‘that the
   defendant intended to procure a breach of the contract.’ ‘One does not induce another to commit
   a breach of contract with a third person under the rule stated in this Section when he merely
   enters into an agreement with the other with knowledge that the other cannot perform both it and
   his contract with the third person.’”) (quotations omitted).
          34
              Romika-USA, Inc. v. HSBC Bank USA, N.A., 514 F. Supp. 2d 1334, 1339 (S.D. Fla.
   2007) (“[A] company’s actions are justified when undertaken to protect its own business
   interests.”).

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          Second, Plaintiff cannot state a claim for tortious interference with employment

   relationships because Owner had an interest in the relationship between Plaintiff and its

   employees as well as a financial interest in how the relationship performed. Under Florida law:

          For the interference to be unjustified, the interfering defendant must be a third
          party, a stranger to the business relationship. A defendant is not a “stranger” to a
          business relationship if the defendant has any beneficial or economic interest in,
          or control over, that relationship. . . . [A] defendant is not a stranger to a business
          relationship, and thus cannot be held liable for tortious interference, when it has a
          supervisory interest in how the relationship is conducted or a potential financial
          interest in how a contract is performed.35

   The employees of Plaintiff at the Hotel were sub-agents of Owner for which Owner had a

   financial interest in the performance of their duties.36       Accordingly, Owner’s actions are

   privileged and, therefore, the tortious interference claim should be dismissed.

          4.        Count V (tortious interference with purported business relationships with
                    private residences) should be dismissed.

          In Count V of the Complaint, Plaintiff purports to assert a claim that Owner tortiously

   interfered with “separate contracts to manage certain private residences at the Setai participating

   in a ‘rental program.’”37 Plaintiff fails to state a claim for at least two reasons and, accordingly,

   Count V of the Complaint should be dismissed.

          First, Plaintiff has failed to allege that Owner specifically intended to interfere with any

   business relationship. Plaintiff merely alleges that Owner knew there were contracts, that Owner


          35
             Palm Beach County Health Care Dist. v. Prof’l Med. Educ., Inc., 13 So. 3d 1090, 1094
   (Fla. 4th DCA 2009) (quotation omitted).
          36
             See Management Agreement at 3, art. 1 § 1 (“The Operator, as the sole agent of
   Owner, will act in accordance with the terms and conditions hereinafter set forth”); Management
   Agreement at 8, art. VII, § 2.3 (“All staff and other operating and service employees employed at
   the Hotel shall be or be deemed to be for all purposes the employees of the Operator.”).
          37
               See Complaint at 21, ¶ 77.

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   participated in “ousting” Plaintiff from the Hotel, and that such ouster had the consequence of

   interfering with Plaintiff’s ability to maintain and continue those contracts.38 However, specific

   intent to damage a business relationship, not just knowledge of a business relationship, is

   required to state a claim for tortious interference.39 Because Plaintiff has failed to plead, and

   cannot plead, that Owner had the specific intent to harm Plaintiff, Plaintiff’s claim should be

   dismissed.

          Second, Plaintiff has failed to plead any facts that show that it is plausible that Owner’s

   actions were without justification. Under Florida law, “a company’s actions are justified when

   undertaken to protect its own business interests.”40 Plaintiff has alleged no facts to show that

   Owner did anything other than protect its own business interests. Moreover, Plaintiff has not

   alleged any acts of Owner that were improper. The facts alleged against Owner are that it

   “participated in orchestrating the improper raid of the Hotel and ouster of GHM from the Hotel;”

   however, those allegations do not establish that Owner did anything improper. Plaintiff had no

   legal right to possession of the Hotel41 and, thus, once Owner had terminated the agency


          38
               See Complaint at 21, ¶¶ 77-78.
          39
              See Romika-USA, Inc., 514 F. Supp. 2d at 1339 (“To be liable for tortious interference
   a defendant must have both the intent to damage the business relationship and a lack of
   justification for doing so.”) (quotation omitted); Fiberglass Coatings, 16 So. 3d at 838; Chicago
   Title Ins. Co. v. Alday-Donalson Title Co. of Fla., Inc., 832 So. 2d 810, 814 (Fla. 2d DCA 2002)
   (“In considering the element of causation, Florida courts have held that the plaintiff must plead
   and prove that the defendant manifested a specific intent to interfere with the business
   relationship. Thus, even if the defendant is aware of the existing business relationship, the
   defendant will not be liable for tortious interference with that relationship unless there is
   evidence that the defendant intended to procure a breach of the contract.”) (citations omitted).
          40
               Romika-USA, Inc., 514 F. Supp. 2d at 1339.
          41
            See Management Agreement at 6-7, art. VII § 1 (“[T]he Operator will be acting only as
   the appointed representative of the Owner, and nothing in this Agreement shall be construed as
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   relationship between it and Plaintiff, Owner had every right to take full control over its property.

   Accordingly, the tortious interference claim must be dismissed.

          5.       Count VII (violation of the Florida Trade Secrets Act) should be dismissed.

          In Count VII of the Complaint, Plaintiff purports to assert a claim under the Florida

   Trade Secrets Act. Plaintiff fails to state a claim for at least four reasons and, accordingly, Count

   VII of the Complaint should be dismissed.

          First, under the terms of the Management Agreement, all of the materials alleged by

   Plaintiff to be confidential (standard operating manuals, training manuals, and employees files)

   belong to Owner. 42 Article XI § 1 of the Management Agreement provides:

          The books of account and all other records relating to, or reflecting, the operation
          of the Hotel shall be kept at the Hotel . . . All such books and records shall be the
          property of the Owner . . . Upon the termination of the Agreement, all of such
          books and records up to the date of termination shall forthwith be delivered up to
          Owner so as to ensure the orderly continuance of the operation of the Hotel. . . .43

   While other hotel management companies may structure their relationship with owners

   differently and assign ownership of the operating materials to the management company, the

   contract here is clear that all records relating to or reflecting the operation of the Hotel belong to

   Owner. Accordingly, Plaintiff cannot assert a trade secrets claim.

          Second, even if the materials belonged to it, Plaintiff has failed to plead any facts

   showing that it is plausible that any of the allegedly confidential and proprietary information or


   creating a tenancy, partnership, joint venture or any other relationship between the parties
   hereto.”).
          42
             See Complaint at 23, ¶ 87 (identifying the purported “confidential and proprietary
   information and materials” as “including standard operating procedure manuals, training
   manuals, and employee files”).
          43
               Management Agreement at 11, art. XI § 1 (emphasis added).

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   materials are in fact trade secrets. Tellingly, Plaintiff does not even use the words “trade secret”

   to describe the information that was purportedly misappropriated.44 Under the Florida Uniform

   Trade Secrets Act, a “trade secret” is information that (1) “derives independent economic value,

   actual or potential, from not being generally known to, and not being readily ascertainable by

   proper means, by other persons who can obtain economic value from its disclosure or use” and

   (2) “is the subject of efforts that are reasonable under the circumstances to maintain its

   secrecy.”45

          Plaintiff does not, and cannot, allege that the purported information is not “readily

   ascertainable by proper means.” Indeed, in light of the fact that Owner had the right under the

   Management Agreement to inspect all records relating or reflecting the operation of the Hotel,46

   all of the materials identified by Plaintiff (standard operating manuals, training manuals, and

   employees files) were readily accessible by Owner and its designees.47            Accordingly, the

   information was not a trade secret and the claim must be dismissed.

          In addition, Plaintiff does not identify any efforts that it took to maintain the secrecy of

   the unnamed “trade secrets.” Plaintiff does not allege that employees signed confidentiality



          44
            See Complaint at 23, ¶¶ 87-94 (purporting to allege a trade secret claim but
   conspicuously failing to even use the words “trade secret”).
          45
               § 688.002(4), Fla. Stat. (1997).
          46
             See Management Article at 11, art. XI § 1 (“The books of account and all other records
   relating to, or reflecting, the operation of the Hotel shall be kept at the Hotel and shall be
   available to the Owner and its duly authorized representatives for examination, audit, inspection
   and copying.”).
          47
             See Complaint at 23, ¶ 87 (identifying the purported “confidential and proprietary
   information and materials” as “including standard operating procedure manuals, training
   manuals, and employee files”).

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   agreements, that the materials were kept under lock and key, or that any particular measure was

   taken to protect the secrecy of information.48 Accordingly, Plaintiff has failed to show that it is

   plausible that the information constitutes a trade secret, and the claim must be dismissed.

          Third, even if the alleged “confidential and proprietary information and materials” were

   trade secrets, Plaintiff has failed to allege facts showing any misappropriation of such trade

   secrets. Based on the allegations in the Complaint, Plaintiff’s theory appears to be that: (1)

   there was proprietary information at the Hotel; and (2) mere “failure to return” such information

   “constitutes misappropriation.”49 However, “failure to return” information does not constitute

   misappropriation.

          Under the Florida Uniform Trade Secrets Act, misappropriation is either:                 (1)

   “acquisition of a trade secret of another by a person who knows or has reason to know that the

   trade secret was acquired by improper means” or (2) “disclosure or use of a trade secret of

   another without express or implied consent by a person” under three particular circumstances.50

   Plaintiff does not allege that any of the information was: (1) acquired by improper means as

   defined in the statute; or (2) used or disclosed—much less that the information was acquired by

   improper means, used, or disclosed by Owner. A mere “failure to return” does not constitutes




          48
             Given that standard operating procedure manuals were located in unlocked public areas
   of the Hotel and some computer servers did not even have password protections, it is doubtful
   that Plaintiff can plead in good faith that reasonable measures were untaken to protect the
   secrecy of information.
          49
             See Complaint at 23, ¶ 93 (“The Defendants’ failure to return GHM’s confidential
   information and proprietary information and materials constitutes misappropriation, in violation
   of Florida Statutes Section 688.001, et. seq.”).
          50
               § 688.002(2), Fla. Stat. (1997).

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   misappropriation, and accordingly, Plaintiff has failed to allege a claim for trade secret

   misappropriation.

          Fourth, even if the information and property does not belong to Owner, Plaintiff has

   failed to allege facts that show that it is plausible that Plaintiff, as opposed to General Hotel

   Management, Ltd., owns the information and property. For instance, Plaintiff alleges that it

   “brought its confidential and proprietary information and materials . . . to the Hotel.”51

   However, Plaintiff, as opposed to General Hotel Management, Ltd., does not manage any other

   hotels, and therefore, Plaintiff cannot have “brought” any materials to the Hotel. Accordingly,

   Plaintiff has failed to allege facts showing that it is plausible that the alleged confidential

   information belongs to Plaintiff, as opposed to General Hotel Management, Ltd.

          6.        Count IX (conversion) should be dismissed.

          In Count IX of the Complaint, Plaintiff purports to assert a “conversion” claim against

   Owner. Plaintiff fails to state a claim for at least three reasons and, accordingly, Count IX of the

   Complaint should be dismissed.

          First, while Plaintiff alleges that “Defendants’ conduct during and after the unlawful raid

   permanently and indefinitely deprived the GHM of a vast amount if its property,” Plaintiff does

   not allege the requisite possessory intent. As this Court has previously held, “the essence of

   conversion is not the possession of property by the wrongdoer but rather such possession in




          51
               See Complaint at 23, ¶ 87.

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   conjunction with a present intent . . . to deprive the person entitled to possession of the

   property.”52

          Second, Plaintiff has not alleged that Plaintiff demanded Owner return the alleged

   property and that Owner refused to return the alleged property. To state a claim for conversion,

   a Plaintiff must allege that either a demand was made and refused or that a demand would be

   futile, and a failure to so plead requires dismissal.53 Accordingly, Plaintiff has not alleged, and

   cannot in good faith allege, a refusal by Owner to comply with any demand from Plaintiff.

          Third, Plaintiff has failed to plead facts establishing ownership of the alleged property.

   To the contrary, Section 1 of Article XI of the Management Agreement between Owner and

   General Hotel Management, Ltd. provides:

          The books of account and all other records relating to, or reflecting, the operation
          of the Hotel shall be kept at the Hotel . . . All such books and records shall be the
          property of the Owner . . . Upon the termination of the Agreement, all of such
          books and records up to the date of termination shall forthwith be delivered up to
          Owner so as to ensure the orderly continuance of the operation of the Hotel. . . .54

          Therefore, all of the items asserted by Plaintiff to be its property, other than purported

   attorney-client communications and items belonging to employees, constitute Hotel-related


          52
             Small Business Admin. v. Echevarria, 864 F. Supp. 1254, 1263 (S.D. Fla. 1994)
   (quoting Senfeld v. Bank of Nova Scotia Trust Co. (Cayman) Ltd., 450 So. 2d 1157, 1161 (Fla.
   3d DCA 1984)).
          53
             See Gordon v. Beary, 444 Fed. App’x 427, 435 (11th Cir. 2011) (“Because Gordon did
   not demand return of the seized property before her possessory interest in that property
   terminated, she has no claim for conversion against the Sheriff.”); In re Meridian Asset Mgmt.,
   Inc., 296 B.R. 243, 264-65 (Bankr. N.D. Fla. 2003) (“Additionally, in Florida, one bringing an
   action for conversion must show that either a demand was made, or, if not made, plead that such
   a demand would have been futile. ‘Demand is an essential element in any claim for conversion
   and failure to make such a demand or allege the futility of doing so is fatal.’” quoting Ginsberg
   v. Lennar Fla. Holdings, 645 So. 2d 490, 500 (Fla. 3d DCA 1994))).
          54
               Management Agreement at 11, art. XI § 1 (emphasis added).

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   books and records and are the property of Owner.55 The items belonging to employees are not

   Plaintiff’s property, and Plaintiff has alleged no facts establishing that any purported attorney-

   client communications located at the Hotel involved GHM (South Beach) LLC as opposed to

   General Hotel Management, Ltd. Accordingly, Plaintiff has failed to state a claim because

   Plaintiff has failed to allege facts showing that it is plausible that Owner converted any property

   belonging to Plaintiff.56

          7.      Count XI (conspiracy) should be dismissed.

          In Count XI of the Complaint, Plaintiff purports to assert a conspiracy claim against

   Owner. Plaintiff fails to state a claim for at least two reasons and, accordingly, Count XI of the

   Complaint should be dismissed.

          First, Plaintiff has failed to state a claim for conspiracy because Plaintiff has failed to

   plead an underlying tort.57 Plaintiff alleges that Defendants agreed to “deprive GHM of its

   business interest as manager of the Hotel, steal the employees it recruited and trained, and

   misappropriate its trade secrets and proprietary information;” however, as set forth above,




          55
             See Complaint at 25, ¶ 101 (“This property includes, but is not limited to GHM
   operating procedure manuals, employee files, training manual, attorney-client communications,
   global operations documentation, style guides, guest profile databases, GHM P&P files, supplier
   lists and contracts, accounting books and records, personal belongings and effects of GHM
   employees.”).
          56
              See Iqbal, 556 U.S. at 677-78 (“A complaint must contain sufficient factual matter,
   accepted as true, to ‘state a claim to relief that is plausible on its face.’ A claim has facial
   plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable
   inference that the defendant is liable for the misconduct alleged.”) (quotation omitted).
          57
             See Silver v. Countrywide Home Loans, Inc., 760 F. Supp. 2d 1330, 1343 (S.D. Fla.
   2011) (“[A]n actionable conspiracy requires an actionable underlying tort or wrong.”) (quotation
   omitted).

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   Plaintiff has failed to state an actionable claim for any of those purported wrongs. Accordingly,

   this count must be dismissed.

          Second, Plaintiff has failed to set forth any facts establishing an agreement to undertake

   any tortious activity.   Plaintiff’s only allegation purporting to support the existence of an

   agreement is that Owner, Trevi, and SMB purportedly participated jointly in the “raid.”

   However, without additional factual basis suggesting the existence of an agreement, joint

   conduct is alone insufficient to state a claim for conspiracy.58 Accordingly, Plaintiff has failed to

   state a claim, and this count must be dismissed.

          8.      Count XII (willful and wanton termination) should be dismissed.

          In Count XII of the Complaint, Plaintiff purports to assert a claim for “willful and wanton

   termination” against Owner. The basis of the claim appears to be that Owner intentionally

   breached the Management Agreement by not complying with the termination provisions. This

   purported claim should be dismissed for two reasons.

          First, no Florida court has recognized a claim for “willful and/or wanton” termination of

   a contract. In fact, courts are clear that it is perfectly permissible and in fact sometimes desirable

   that a party intentionally breach a contract.59 Accordingly, Owner’s purported intentional breach


          58
            See Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 557 (2007) (“A statement of parallel
   conduct, even conduct consciously undertaken, needs some setting suggesting [an] agreement . .
   . [W]ithout that further circumstance pointing toward a meeting of the minds, an account of a
   defendant’s commercial efforts stays in neutral territory. . . .”).
          59
              See United States v. Blankenship, 382 F.3d 1110, 1133 (11th Cir. 2004) (“It is not
   illegal for a party to breach a contract; a contract gives a party two equally viable options
   (perform or pay compensation), between which it is generally at liberty to choose. A ‘promise’
   contained in a contract is not a certification that the promisor will actually perform the specified
   acts, or presently intends to perform those acts, but is instead a grant of a legal right to the other
   party to either enjoy performance or receive damages.”); Allapattah Servs., Inc. v. Exxon Corp.,
   61 F. Supp. 2d 1326, 1329 (S.D. Fla. 1999) (“Not only are intentional breaches exempt from
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   of a contract does not constitute a separate or independent cause of action.

          Second, even if a claim for intentional breach of contract existed, it is merely duplicative

   of Plaintiff’s breach of contract claim and purported breach of implied duty of good faith and fair

   dealing claim. Accordingly, the Court should dismiss this claim.

                                                   IV.

                                      REQUEST FOR RELIEF

          For the foregoing reasons, Owner requests that the Court enter an order:

          (1)     Granting Owner’s request for a more definite statement and requiring Plaintiff to:

                  (a)     identify the factual allegations supporting each count; and

                  (b)     make clear the distinctions between General Hotel Management, Ltd. and

                          Plaintiff GHM (South Beach) LLC;

          (2)     Dismissing Counts II, III, IV, V, VII, IX, XI, and XII of the Complaint; and

          (3)     Granting Owner such other relief, at law and in equity, which the Court deems

                  just and proper.




   punitive claims, they are sometimes encouraged. The law has long recognized the view that a
   contracting party has the option to breach a contract and pay damages if it is more efficient to do
   so. The logical result of this theory is a limitation of breach of contract damage exposure to
   losses contemplated by the contracting parties, and for which a defendant ‘at least tacitly agreed
   to assume responsibility.’”).

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   Dated: May 30, 2012                Respectfully submitted,
          Miami, Florida

                                      s/Elizabeth B. Honkonen
                                      Richard H. Critchlow, Esq.
                                      (Florida Bar No. 155227)
                                      rcritchlow@knpa.com
                                      Elizabeth B. Honkonen, Esq.
                                      (Florida Bar No. 149403)
                                      ehonkonen@knpa.com
                                      KENNY NACHWALTER, P.A.
                                      201 South Biscayne Boulevard, Suite 1100
                                      Miami, Florida 33131-4327
                                      Telephone: (305) 373-1000
                                      Facsimile:     (305) 372-1861

                                             - and -

                                      William A. Brewer III
                                      (pro hac vice application filed)
                                      wab@bickelbrewer.com
                                      James S. Renard
                                      (pro hac vice application filed)
                                      jsr@bickelbrewer.com
                                      Jack G. B. Ternan
                                      (pro hac vice application filed)
                                      jgt@bickelbrewer.com
                                      BICKEL & BREWER
                                      4800 Comerica Bank Tower
                                      1717 Main Street
                                      Dallas, Texas 75201
                                      Telephone: (214) 653-4000
                                      Facsimile:     (214) 653-1015

                                      COUNSEL FOR DEFENDANT SETAI
                                      OWNERS LLC




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                                   CERTIFICATE OF SERVICE

           I certify that on May 30, 2012, I electronically filed the foregoing document with the
   Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this
   day on all counsel of record or pro se parties identified on the attached Service List in the
   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
   or in some other authorized manner for those counsel or parties who are not authorized to receive
   electronically Notices of Electronic Filing.

                                               s/Elizabeth B. Honkonen




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                                            SERVICE LIST
                         GHM (South Beach LLC) v. Setai Owners LLC, et al.
                              CASE NO. 1:12-cv-21932-KMM/TORRES
                       United States District Court, Southern District of Florida


   Kenneth R. Hartmann, Esq. (Florida Bar No. 664286)    Richard H. Critchlow, Esq. (Florida Bar No. 155227)
   krh@kttlaw.com                                        rcritchlow@knpa.com
   Daniel F. Benavides, Esq. (Florida Bar No. 81675)     Elizabeth B. Honkonen, Esq. (Florida Bar No. 149403)
   dfb@kttlaw.com                                        ehonkonen@knpa.com
   Douglas A. Wolfe, Esq. (Florida Bar No. 28671)        KENNY NACHWALTER, P.A.
   daw@kttlaw.com                                        201 South Biscayne Boulevard
   KOZYAK TROPIN & THROCKMORTON, P.A.                    Suite 1100
   2525 Ponce de Leon, 9th Floor                         Miami, Florida 33131-4327
   Coral Gables, Florida 33134                           Telephone: (305) 373-1000
   Telephone: (305) 372-1800                             Facsimile:    (305) 372-1861
   Facsimile:    (305) 372-3508                          Counsel for Defendants Setai Owners LLC and
   Counsel for Plaintiff                                 SMB Managements LLC
   [VIA CM/ECF]                                          [VIA CM/ECF]

                                                         William A. Brewer, III
                                                         wab@bickelbrewer.com
                                                         James S. Renard
                                                         jsr@bickelbrewer.com
                                                         Jack G. Ternan
                                                         jgt@bickelbrewer.com
                                                         Bickel & Brewer
                                                         4800 Comerica Bank Tower
                                                         1717 Main Street
                                                         Dallas, Texas 75201
                                                         Telephone: (214) 653-4000
                                                         Facsimile:    (214) 653-1015
                                                         Counsel for Defendants Setai Owners LLC and
                                                         SMB Management LLC
                                                         [VIA U.S. MAIL]




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